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 6                           UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          )
                                        )            2:06-cr-00441-GEB
10                  Plaintiff,          )
                                        )
11             v.                       )            ORDER
                                        )
12   DONALD HAYLES a/k/a Donald Fouche, )
     a/k/a D,                           )
13                                      )
                    Defendant.          )
14                                      )
15                The portion of the judgment filed on January 26, 2009,
16   concerning voluntary surrender is amended as follows:
17                The Defendant shall surrender himself to the United
18   States Marshal located in St. Louis, Missouri, or to the
19   institution designated by the Bureau of Prisons on or before 2 p.m.
20   on February 25, 2009.
21                IT IS SO ORDERED.
22   Dated:     February 9, 2009
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24                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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